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                         IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

  AISHIA PETERSEN,                                      Case No. 1:22-cv-22232-BB

         Plaintiff,

  v.

  DESTINO CAPITAL, LLC.
  d/b/a AZULU,
         Defendant.
  ________________________________/

                                  NOTICE OF SETTLEMENT

         Plaintiff AISHIA PETERSEN, hereby notify the court that a provisional settlement has

  been reached in the above-captioned case. The parties would like to avoid any additional

  expense, and further the interests of judicial economy, while they focus efforts on finalizing

  the material terms of the settlement and reducing it to a writing. Plaintiff therefore requests

  this Court to vacate all currently set dates with the expectation that Notice for Dismissal with

  prejudice as to all claims will be filed within sixty (60) days.

   Dated this 23rd day of November 2022.
                                                           By: __/s/ Acacia Barros___
                                                           Acacia Barros, Esq.
                                                           Fla. Bar No. 106277
                                                           ACACIA BARROS, P.A.
                                                           11120 N Kendall Dr., Suite 201
                                                           Miami, Florida 33176
                                                           Telephone: 305-639-8381
                                                           ab@barroswlawfirm.com
                                                           Counsel for Plaintiff

                                  CERTIFICATE OF SERVICE

         I hereby certify that on this 23rd day of November 2022 that the foregoing document
  has been filed using CM/ECF system and will be served on Defendant or Defendant’s counsel.


                                                  s/Acacia Barros
                                                  Attorney for Plaintiff
                                                  ACACIA BARROS, P.A.


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